436 F.2d 580
    UNITED STATES of America, Plaintiff-Appellee,v.Victor Manuel STUART, Defendant, Stuyvesant InsuranceCompany, Intervenor-Appellant.No. 30688 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Company of New York et al., 5th Cir.,1970, 431 F.2d 409, Part. I.
    United States Court of Appeals, Fifth Circuit.
    Jan. 11, 1971.
    
      Robert J. Stamps, New Orleans, La., for appellant.
      Claude C. Aucoin, Asst. U.S. Atty., New Orleans, La., Gerald J. Gallinghouse, U.S. Atty., Eastern District of Louisiana, New Orleans, La., for appellee.
      Appeal from the United States District Court for the Eastern District of Louisiana; Alvin B. Rubin, Judge, 319 F.Supp. 1290.
      Before WISDOM, COLEMAN, and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      The appeal in this case is dismissed as frivolous.  See Rule 20, Rules of the United States Court of Appeals for the Fifth Circuit.
    
    
      2
      Appeal dismissed.
    
    